18-51837-rbk Doc#9 Filed 08/08/18 Entered 08/08/18 12:50:32 Main Document Pg 1 of 3



                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

  IN RE:                                              §
                                                      §            CASE NO. 18-51837-RBK
  COWBOYS FAR WEST, LTD                               §
                                                      §            CHAPTER 11
  DEBTOR                                              §

                                   NOTICE OF APPEARANCE AND
                                 REQUEST FOR SERVICE OF PAPERS

           PLEASE TAKE NOTICE that the undersigned hereby appears as attorney for CROSSROADS

  2004, LLC, a creditor and party in interest, and pursuant to Rules 2002, 3017, and 9010 of the Bankruptcy

  Rules, requests that all notices given or required to be given in this case and all papers served or required

  to be served in this case be given to and served upon:

                                        BRIAN S. ENGEL
                                        STEVE TURNER
                       BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
                               3809 JUNIPER TRACE, SUITE 205
                                     AUSTIN, TEXAS 78738
                                      Main: (512) 687-2503
                                       Fax: (512) 477-1112
                                     brianen@bdfgroup.com
                                      stevet@bdfgroup.com


           PLEASE TAKE FURTHER NOTICE that pursuant to § 1109(b) of the Bankruptcy Code, the

  foregoing request includes not only the notices and papers referred to in the rules specified above, but also

  includes, without limitation, orders and notices of any application, motion, petition, pleading, request,

  complaint or demand, whether formal or informal, whether written or oral and whether transmitted or

  conveyed by mail, delivery, telephone, telegraph, telex or otherwise.

           This Notice of Appearance and Request for Service of Papers shall not be construed as

  authorization to serve counsel for CROSSROADS 2004, LLC, with any summons and complaint or any

  service of process under Fed. R. Bank. P.7001, et seq, or any subpoena under Fed. R. Bank. P. 9016. The

  undersigned firm will not accept service of process in any adversary for CROSSROADS 2004, LLC.




  BDF 7791601                                         -1-
18-51837-rbk Doc#9 Filed 08/08/18 Entered 08/08/18 12:50:32 Main Document Pg 2 of 3



                                                      Respectfully submitted,

                                                      BARRETT DAFFIN FRAPPIER
                                                      TURNER & ENGEL, LLP


                                                      By: /s/ Brian S. Engel
                                                          Brian S. Engel
                                                          State Bar No. 00789279
                                                          Steve Turner
                                                          State Bar No. 20341700
                                                          3809 Juniper Trace, Suite 205
                                                          Austin, Texas 78738
                                                          Telephone: (512) 687-2503
                                                          Facsimile: (512) 477-1112
                                                          brianen@bdfgroup.com
                                                          stevet@bdfgroup.com

                                                      ATTORNEYS FOR
                                                      CROSSROADS 2004, LLC




                                       CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on the 8th day of August, 2018, a true and correct copy of
  the foregoing document was served upon the parties on the attached mailing matrix via electronic means
  as listed on the Court’s ECF noticing system or by regular first class mail, postage prepaid.


                                                      /s/ Brian S. Engel
                                                      Brian S. Engel




  BDF 7791601                                       -2-
   18-51837-rbk Doc#9 Filed 08/08/18 Entered 08/08/18 12:50:32 Main Document Pg 3 of 3

                                                                 AMIE HAYNES
                                JAMES S WILKINS                  C/O KEVIN B MILLER
COWBOYS FAR WEST LTD
                                WILLIS & WILKINS LLP             LAW OFFICE OF MILLER & BICKLEIN
3030 NE LOOP 410
                                711 NAVARRO ST STE 711           8270 CALLAGHAN RD STE 250
SAN ANTONIO TX 78218
                                SAN ANTONIO TX 78205             SAN ANTONIO TX 78230



BEXAR COUNTY
                                                                 COWBOYS CONCERT HALL-
C/O DON STECKER                 COMPTROLLER OF PUBLIC ACCOUNTS
                                                                 ARLINGTON LTD
LINEBARGER GOGGAN ET AL         PO BOX 13528
                                                                 3030 NE LOOP 410
711 NAVARRO ST STE 300          AUSTIN TX 78711-8528
                                                                 SAN ANTONIO TX 78218
SAN ANTONIO TX 78205




CROSSROADS 2004 LLC             FAR WEST REALTY LTD              FORD MOTOR CREDIT
914 N BROADWAY AVE STE 302      16500 SAN PEDRO AVE STE 280      PO BOX 650575
OKLAHOMA CITY OK 73102          SAN ANTONIO TX 78232             DALLAS TX 75265-0575




INTERNAL REVENUE SERVICE
SPECIAL PROCEDURES STAFF        INTERNAL REVENUE SERVICE         JOHNSON CONTROLS
STOP 5022 AUS                   PO BOX 21126                     PO BOX 730068
300 E 8TH ST                    PHILADELPHIA PA 19114            DALLAS TX 75373
AUSTIN TX 78701



                                NICHOLAS JOSEPH FINNERTY         PRINSBANK
JOSE MARIA GARZA TREVINO
                                C/O MONICA I BOHUSLOV            508 THIRD ST
136500 SAN PEDRO AVE STE 280
                                901 MAIN ST STE 5200             PO BOX 38
SAN ANTONIO TX 78232
                                DALLAS TX 75202                  PRINSBURG MN 56281




RED RIVER BEVERAGE INC          SUNSTATE EQUIPMENT CO LLC        TRIPLE D SECURITY INC
3030 NE LOOP 410                5552 W WASHINGTON ST             PO BOX 2346
SAN ANTONIO TX 78215            PHOENIX AZ 85034                 VICTORIA TX 77902




                                U S ATTORNEY GENERAL
U S ATTORNEY                                                     UNITED STATES TRUSTEE
                                MAIN JUSTICE BLDG RM 5111
610 NW LOOP STE 600                                              PO BOX 1539
                                10TH & CONSTITUTIION AVE NW
SAN ANTONIO TX 78216                                             SAN ANTONIO TX 78295-1539
                                WASHINGTON DC 20530
